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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                             Criminal No. 13-20156
                        Plaintiff,           HON. George Caram Steeh
v.

D-2 Armando Antonio Villa Aguirre,

               Defendant.
________________________________/


                   PRELIMINARY ORDER OF FORFEITURE

       1.     A Superseding Indictment (Indictment) was issued on October 2, 2013

charging Defendant ANTONIO ARMANDO VILLA AGUIRRE in Count One

with Conspiracy to Possess with Intent to Distribute and Distribution of

Controlled Substances (Cocaine) in violation of 21 U.S.C. §§ 846, 841(a),

84l(b)(l)(A)(ii)(II).

       2.     Defendant ANTONIO ARMANDO VILLA AGUIRRE entered into a

Rule 11 Plea Agreement (Rule 11) in which he agreed to plead guilty to Count One

of the Indictment.




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      3.     As part of this agreement, Defendant ANTONIO ARMANDO VILLA

AGUIRRE agreed, pursuant to 21 U.S.C. § 853, to forfeit his interest to the United

States in the following:

      (a) any property, real or personal, constituting or derived from any proceeds

obtained, directly or indirectly, as a result of violations of Title 21, United States

Code, Section 841 and 846, as alleged in Count One of the Indictment;

      (b) any property, real or personal, involved in the commission of violations

of Title 21, United States Code, Section 841 and 846, as alleged in Count One of

the Indictment; and/or

      (c) a money judgment, and all traceable interest and proceeds which sum in

aggregate is property representing the proceeds of the aforementioned offenses, or

is traceable to such property, and/or is involved in violations of Title 21, United

States Code, Section 841 and 846, as alleged in Count One of the Indictment

(collectively, “Subject Property”).

      4.     Defendant ANTONIO ARMANDO VILLA AGUIRRE agreed in his

Rule 11 to the entry of a personal money judgment against him in favor of the

United States in the amount of One Hundred Fifty Thousand Dollars ($150,000).

Defendant agreed that this is the amount of money he will be ordered to pay under

Fed. R. Crim. P. 32.2(b), and agreed that $150,000 constitutes, or was derived
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from, the proceeds he obtained, directly or indirectly, from the crime charged in

Count One of the Indictment and other such related conduct as described in the

Rule 11 Plea Agreement in Section 1.C., “Factual Basis for Guilty Plea.”

      5.      Defendant ANTONIO ARMANDO VILLA AGUIRRE agreed that,

pursuant to 21 U.S.C. § 853(p), if, by any act or omission of Defendant, the

property subject to forfeiture cannot be located upon the exercise of due diligence;

has been transferred, sold, or deposited with a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, any of

his other real or personal property, up to the value of such unavailable assets,

would be forfeitable.

      6.     Defendant ANTONIO ARMANDO VILLA AGUIRRE agreed to the

entry of a Stipulated Preliminary Order of Forfeiture, at or after the time his guilty

plea is entered, with regard to the forfeiture money judgment in the amount of

$150,000 and as to any other property identified before sentencing that is subject to

forfeiture pursuant to 21 U.S.C. § 853, as a result of violations of Title 21, United

States Code, Section 846, as alleged in Count One of the Indictment.

      7.     In entering into this Rule 11 agreement with respect to forfeiture,

Defendant ANTONIO ARMANDO VILLA AGUIRRE expressly waived his right
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to have a jury determine the forfeitability of his interest in the Subject Property as

provided by Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure.

      8.     In entering into this Rule 11 agreement with respect to forfeiture,

Defendant ANTONIO ARMANDO VILLA AGUIRRE knowingly, voluntarily,

and intelligently waived any challenge to the above-described forfeiture based

upon the Excessive Fines Clause of the Eighth Amendment to the United States

Constitution.

      9.     Defendant further waived the requirements of Federal Rules of

Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the

charging instrument, announcement of the forfeiture at sentencing, and

incorporation of the forfeiture in the judgment. Defendant acknowledged that he

understood that the forfeiture of assets is part of the sentence that may be imposed

in this case and waived any failure by the court to advise him of this, pursuant to

Rule 11(b)(1)(J), at the time his guilty plea is accepted.



      10.    Federal Rules of Criminal Procedure 32.2(b)(2)(A) and (B) provide

that the court must enter a preliminary order of forfeiture directing the forfeiture of

specific property that it finds is subject to forfeiture sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications, before the
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order becomes final as to the defendant under Rule 32.2(b)(4), unless doing so is

impractical.

      11.      The court finds that defendant property has a sufficient nexus to the

offense of conviction and is therefore subject to forfeiture to the United States.

      NOW THEREFORE, based upon Defendant ANTONIO ARMANDO

VILLA AGUIRRE’s acknowledgment of criminal forfeiture proceedings against

defendant property, Defendant’s Rule 11 Plea Agreement and guilty plea, and the

information in the record,

      IT IS HEREBY ORDERED that a money judgment in the amount of

$150,000 is hereby entered against Defendant ANTONIO ARMANDO VILLA

AGUIRRE in favor of the United States of America;

      IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(c)(1) and

(c)(2) this Preliminary Order of Forfeiture shall become final as to the Defendant

and all other persons upon entry and shall be made part of the sentence and

included in the judgment, given that the forfeiture consists entirely of a money

judgment and ancillary proceedings are not required.

      The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture, and to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).


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IT IS SO ORDERED.

                                          s/George Caram Steeh
Dated: June 9, 2015                       HON. GEORGE CARAM STEEH
                                          United States District Judge




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